     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 1 of 23
                                                                                            January 18, 2018 - 1

 1                                    UNITED STATES DISTRICT COURT

 2                         WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 3    ________________________________________________________________
                                        )
 4     UNITED STATES OF AMERICA,        ) CR17-00135-TSZ
                                        )
 5                      Plaintiff,      ) SEATTLE, WASHINGTON
                                        )
 6     v.                               ) January 18, 2018
                                        )
 7     FANG WANG,                       ) Sentencing Hearing -
                                        ) Redacted
 8                      Defendant.      )
                                        )
 9    ________________________________________________________________

10                      VERBATIM REPORT OF PROCEEDINGS
                     BEFORE THE HONORABLE THOMAS S. ZILLY
11                       UNITED STATES DISTRICT JUDGE
      ________________________________________________________________
12

13

14     APPEARANCES:

15     For the Plaintiff:                          Catherine L. Crisham
                                                   U.S. Attorney's Office
16                                                 700 Stewart Street
                                                   Suite 5220
17                                                 Seattle, WA 98101

18

19     For the Defendant:                          Stephan R. Illa
                                                   Law Office of Stephan R. Illa
20                                                 P.O. Box 10033
                                                   Seattle, WA 98110
21

22

23

24

25

               Proceedings stenographically reported and transcript produced with computer-aided technology

         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 2 of 23
                                                                                            January 18, 2018 - 2

 1                  THE CLERK:            Will counsel please come forward in the Wang

 2    matter?

 3         The court calls to order Cause No. CR17-135-Z, United States

 4    of America v. Fang Wang.

 5         Counsel, please stand and make your appearance for the

 6    record.

 7                  MS. CRISHAM:              Good afternoon, Your Honor.                          Kate Crisham

 8    for the United States.

 9                  MR. ILLA:           Good afternoon, Your Honor.                          Stephan Illa

10    appearing on behalf of the defendant, Ms. Fang Wang.                                            She is here

11    with me today in custody, being assisted by a court interpreter

12    in the Mandarin language.

13                  THE COURT:            Thank you and good afternoon.

14         Are the parties ready to proceed with sentencing in this

15    matter?

16                  MS. CRISHAM:              Yes, Your Honor.

17                  MR. ILLA:           We are.

18                  THE COURT:            Did the defendant have the presentence

19    report and sentencing recommendations read to her in her native

20    language?

21                  MR. ILLA:           Yes, Your Honor.

22                  THE COURT:            All right.            In addition, I have received and

23    reviewed the plea agreement, the government's sentencing memo,

24    and the defendant's sentencing memo.

25         Is there anything else I should have received and reviewed?



         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 3 of 23
                                                                                            January 18, 2018 - 3

 1                  MS. CRISHAM:              No, Your Honor.

 2                  MR. ILLA:           That's it, Your Honor.

 3                  THE COURT:            Are there any factual disputes with the

 4    facts stated in the presentence report for purposes of

 5    calculating guidelines?

 6                  MS. CRISHAM:              Your Honor, I don't believe so.                             I believe

 7    the only disagreement is with regards to whether or not Ms. Wang

 8    should have an upward adjustment for her role in the offense.

 9                  THE COURT:            Well, I asked about facts.

10                  MS. CRISHAM:              I'm sorry, Your Honor.

11                  THE COURT:            So is there any objection to the facts

12    stated in the presentence report?

13                  MR. ILLA:           No, Your Honor.

14                  THE COURT:            All right.            Then I will adopt all of those

15    facts for purposes of calculating guidelines.                                      The guidelines, of

16    course, I'm not bound by them, but they give a necessary starting

17    point for what's an appropriate sentence under all the

18    circumstances.

19         Based on the facts that are stated in the presentence report,

20    I tentatively conclude that the guideline calculations as set

21    forth in the presentence report are appropriate, and I will adopt

22    them, unless there's some objection that persuades me otherwise.

23         Is there any objection to the guideline calculations

24    calculating a total offense level of 18, a Criminal History

25    Category I, of course, a guideline range of 27 to 33 months?



         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 4 of 23
                                                                                            January 18, 2018 - 4

 1                  MS. CRISHAM:              No objection from the government, Your

 2    Honor.

 3                  MR. ILLA:           No objection.

 4                  THE COURT:            All right.            I will hear from the government

 5    then as to what the appropriate disposition is.

 6                  MS. CRISHAM:              Thank you, Your Honor.

 7         Your Honor, the parties have agreed in the plea agreement to

 8    jointly recommend a term of imprisonment of 24 months.                                              Ms. Wang

 9    was clearly the leader of this organization.                                     She recruited

10    prostitutes from --

11                  THE COURT:            So let me just ask you, she's only pled to

12    and is being sentenced on Count 1, which is the conspiracy?

13                  MS. CRISHAM:              That's correct, Your Honor, yes.

14                  THE COURT:            All right.            And, of course, we just

15    sentenced one of the defendants, and I indicated on the record

16    then that I was a little surprised that the government would

17    enter into these type of agreements in connection with this very

18    serious offense that occurred over a three-year or more period.

19         So please address the nature of the conspiracy and why the

20    government entered into this agreement.

21                  MS. CRISHAM:              Thank you, Your Honor.                     I will start first

22    with the nature of the conspiracy and specifically Ms. Wang's

23    role in it.

24         As we spoke about previously, this was a large conspiracy

25    that spanned the country.                      Ms. Wang recruited women to work for



         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 5 of 23
                                                                                            January 18, 2018 - 5

 1    her as prostitutes from across the country.                                     Most of these women

 2    were Chinese nationals.                    They range in age from 20 to 50.                              They

 3    would arrange for their own transportation here to Washington.

 4    Ms. Wang told them in their communications that they would be

 5    doing massage work.                 Most of the women that law enforcement

 6    interviewed told us that they either knew that this was a code

 7    for prostitution or suspected it.                            But there were several women

 8    who testified that they were not aware that they would be

 9    required to work as prostitutes, and they were very upset when

10    they learned that this is what they had to do.

11                  THE COURT:            How many women does the government believe

12    were involved in the conspiracy to which this defendant has pled

13    guilty?

14                  MS. CRISHAM:              Your Honor, there were, I would say,

15    probably at least 100 to 200 different women.

16         The way that this would work --

17                  THE COURT:            And are you saying 100 to 200 different

18    women who came into the state of Washington as part of this

19    conspiracy?

20                  MS. CRISHAM:              Yes.       And we were not able to identify all

21    of them, again.              But given our knowledge of how the conspiracy

22    worked, Ms. Wang and the organization really kind of churned out

23    women and would keep them in various brothels here in Washington

24    for a fairly short of period of time, usually several weeks to a

25    month or so, and then the women would be moved kind of abruptly



         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 6 of 23
                                                                                            January 18, 2018 - 6

 1    and without warning.                  They would be told that they were going to

 2    a different location, and they would be transported by one of the

 3    co-conspirators to this different location.

 4                  THE COURT:            A different location within the Western

 5    District, or outside the state?

 6                  MS. CRISHAM:              All of the brothels that we identified

 7    were here in the state of Washington.                                Several over in the

 8    Eastern District.               We believe that Ms. Wang was also looking into

 9    establishing or had established some in Portland as well, but we

10    had not fully been able to develop the proof with regards to

11    that.

12         Some of the women would eventually just leave, at which point

13    Ms. Wang would then recruit additional women through WeChat.                                                    But

14    there were a number of women that were constantly being shuttled

15    through here, in Washington, to the various brothel locations,

16    and I believe there were at least 20 or 25 that were encountered

17    the day of the takedown, which gives some sense of the number of

18    women that were working for Ms. Wang.

19         As I mentioned, the conspiracy operated dozens of residential

20    brothels and apartments across the state.                                   Many of these were

21    very high-end apartment complexes in Bellevue or in Seattle.                                                    The

22    conspirators, particularly Ms. Wang, would post ads on

23    Backpage.com, and then she would negotiate, via text message, the

24    terms and the details of prostitution with customers.                                             Once a

25    date was arranged, Ms. Wang, or one of her co-conspirators



         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 7 of 23
                                                                                            January 18, 2018 - 7

 1    occasionally, would then communicate with the prostitutes via

 2    this WeChat and let them know that a customer was coming, how

 3    long he had arranged the meeting to last, and how much the woman

 4    was supposed to charge.

 5                  THE COURT:            Does the government have any idea how much

 6    money was collected by this defendant from the prostituted women?

 7                  MS. CRISHAM:              Again, Your Honor, we believe it was

 8    likely hundreds of thousands of dollars.

 9                  THE COURT:            Well, I mean, what you believe is --

10                  MS. CRISHAM:              And I can give a reason for that, Your

11    Honor.

12                  THE COURT:            Pardon?

13                  MS. CRISHAM:              I can give a reason for that.

14                  THE COURT:            Well, go ahead.

15                  MS. CRISHAM:              When we spoke to the women, all of them

16    were consistent that they would do between five and ten

17    prostitution dates a day, charging between 160 and 200.                                              At

18    the time of the takedown, there were approximately 25 active

19    locations.          And, again, we believe that there had been

20    approximately that many managed by Ms. Wang and her co-

21    conspirators during the conspiracy.

22         We were not able to determine precisely where this money went

23    or what it was used for.                     It was certainly used in part for

24    renting the locations, transportation, supplies.                                         But I think law

25    enforcement -- it's our belief that Ms. Wang did make a



         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 8 of 23
                                                                                            January 18, 2018 - 8

 1    significant amount of money over the course of this conspiracy.

 2    The organization would take approximately half of what each

 3    prostitute would earn, and this was the ongoing agreement, that

 4    they would be consistently required to turn over that money.

 5         And, again, as I mentioned, Ms. Wang was clearly the leader.

 6    She was the individual solely responsible for recruiting the

 7    prostitutes.           She was the primary person posting advertisements.

 8    She was the person directing all the co-defendants to either rent

 9    apartments, to pick up money, to purchase supplies, or to

10    transport the women to various locations.                                   She earned the vast

11    majority of money, and she was the one who paid Mr. Thompson,

12    Mr. He, Mr. Wu, and others for their involvement.

13                  THE COURT:            How many people did she manage and direct in

14    terms of the entire conspiracy, to the government's knowledge?

15                  MS. CRISHAM:              We know that she directed at least five,

16    and those are the five named defendants.                                  We believe that there

17    were others as well.                  We were simply not able to identify those

18    individuals.

19         And, Your Honor, we believe that a significant custodial

20    sentence is appropriate.                     Ms. Wang profited financially off the

21    vulnerability of women who were in desperate times, either

22    financially or because of their immigration status.                                           She told

23    them that they would be engaging in, quote/unquote, "massage

24    work," and then when they came here, not knowing anyone and not

25    speaking the language, she encouraged or exploited them into



         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 9 of 23
                                                                                            January 18, 2018 - 9

 1    having sex with strangers and giving her a significant portion of

 2    the profits.           These women were isolated, they didn't speak

 3    English, they didn't know the area, and they were completely

 4    dependent upon Ms. Wang and her co-conspirators.                                         Because of her,

 5    these women were susceptible to sexual or physical assault from

 6    customers, sexually transmitted diseases, and arrests from law

 7    enforcement.

 8         Many people in society argue that prostitution is a

 9    victimless crime, particularly if the prostitutes chose to be

10    doing this.          And, again, our view is that while we have no

11    evidence that Ms. Wang ever physically abused anyone or

12    physically forced anyone into engaging in sex work or threatened

13    them or anything else like that, she certainly ran an

14    organization that made significant money off other women's

15    distress and despair.                   In doing so, she put people at risk, she

16    brought crime into this community -- a number of crimes, not just

17    prostitution, but immigration crimes, likely money-laundering

18    crimes -- and we think that a significant sentence is necessary,

19    and we ask that that be 24 months, Your Honor.

20         Thank you.

21                  MR. ILLA:           Well, Your Honor, it's not a victimless

22    crime, and that's for sure.                        And we know that because of how

23    Ms. Wang got to be where she is today.                                 She was brought to this

24    country and forced into prostitution for years.                                        She was beaten,

25    sodomized, forced to be a prostitute, brought to different



         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 10 of 23
                                                                                            January 18, 2018 - 10

 1    locations, and the folks who did this to her were the ones who

 2    profited from it, were the ones who brought her here for this

 3    purpose.

 4          And when her body finally wore out, when she literally could

 5    not continue to do what they demanded, she went to the doctor,

 6    and the doctor said, "You've got to stop all of this activity;

 7    you got to take a break and get over these diseases you have

 8    contracted and recover from this."                              And when she went back to the

 9    people who had done this to her, who had victimized her, they had

10    an idea, and the idea was this:                            If you're too worn out to make

11    your money back for us that way, we have got another idea.                                                  And

12    so what they did is they inserted her as the public face of this

13    operation.

14          Now, I can prove that because I can show that up until

15    virtually the day she was arrested, Ms. Wang was not just doing

16    these administrative leadership-type tasks; she was also still

17    forced to turn tricks, to be a prostitute.

18          Now, that's inconsistent with the view of her that the

19    government presents to this Court, that she sits at the apex of a

20    pyramid, and at that apex is the person profiting from this

21    crime.       And I don't know what                                told the government.                    That's

22    between them.             I don't know what other investigations the

23    government has going.                    That's their business.                     But as far as the

24    concept that this woman, 4-foot-11, 28 years old, after being

25    abused for years as a prostitute, suddenly transforms herself



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 11 of 23
                                                                                            January 18, 2018 - 11

 1    into the mastermind of this operation, that doesn't make sense,

 2    and it's not consistent with the truth.

 3          As far as this presentation I am making about her

 4    victimization, it doesn't excuse anything that she did, but it,

 5    of necessity, needs to be taken into account by this Court.

 6          And the reason that Ms. Wang finally pled guilty has far less

 7    to do with                                                                                     Her

 8    conviction at trial was virtually a certainty simply because of

 9    the way the Ninth Circuit instructions on duress and coercion

10    read.       Her assessment, which I confirmed, was that she couldn't

11    prevail at trial, but nonetheless might have to go to trial to

12    put her story on and to have the Court hear all of the details.

13          She made the decision to plead guilty in exchange for an

14    agreement with the government to limit her exposure and also with

15    the knowledge that she would still have the opportunity to

16    present to this Court why she did this and how she finds herself

17    here today.           That's why we have put on this presentation today

18    for the Court.              It's not to diminish her responsibility for what

19    she did, but to explain instead the position from which those

20    decisions were made.

21          As far as the scope of this operation, what I heard the

22    government say in response to the Court's very direct question

23    about the number of women involved, the answer was not with any

24    kind of precision or in reference to reports.                                       Rather it appeared

25    to be an estimate pulled from thin air:                                  100 to 200 women.                  With



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 12 of 23
                                                                                            January 18, 2018 - 12

 1    the difference in that kind of range, Your Honor, it makes me

 2    question how many women the government really does contend were

 3    involved here.              If it was two to three?                      If it was one?               It

 4    doesn't matter because it's still a crime; it's still horrible

 5    about what she did.                  But in terms of trying to get a number up

 6    that high with no basis, I submit that's not a proper way to

 7    determine a sentence.                    It's not the kind of evidence the Court

 8    could say, yeah, more probably than not it's 100 or 200.

 9          Likewise, when the government says that Ms. Wang made

10    hundreds of thousands of dollars from her position here, that

11    "hundreds of thousands of dollars" seemed to evaporate upon

12    further questioning by the Court.                             Ms. Crisham, for the

13    government, went on to try to estimate based on the number of

14    women, times the number of dates, times the number of amounts

15    supposedly given to Ms. Wang.

16          Any profit from this operation that went to this defendant we

17    would assume could be traced fairly easily.                                      She maintained bank

18    accounts.          She had a residence here.                        The government got all of

19    those records through subpoena.                            There is no evidence of her

20    having any kind of significant profit from this.

21          And, again, Your Honor, I come back to the common-sense

22    thought, that for this woman to occupy this position would be

23    unique.        I have not heard the government stand up here and assert

24    that these Chinese prostitution operations are matriarchal, that

25    they are run by women exclusively or anything of the sort.                                                  It's



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 13 of 23
                                                                                            January 18, 2018 - 13

 1    just the opposite, and for very good reason, because the people

 2    who run these operations use people like commodities.                                              And the

 3    great tragedy of Ms. Wang is that by dint of her own weakness,

 4    she decided to save herself by helping them victimize others,

 5    and that is something she is living with every day, to know that

 6    even in a little way, she facilitated that.                                      That is a tremendous

 7    burden.

 8          Your Honor, what Ms. Wang wants to do at this point is close

 9    the book on this aspect of her life.                                She's pled guilty and taken

10    responsibility for what she did.                             She doesn't make excuses for

11    it, but she wanted the Court to know how she came to this place.

12          Thank you for the opportunity to talk to you about this, Your

13    Honor.       I believe Ms. Wang is ready to speak, at the Court's

14    opportunity.

15                   THE COURT:            Thank you.

16          Let me ask the government counsel first.                                     Does the government

17    counsel have any evidence that suggests that she didn't get into

18    this management role because she couldn't continue in the

19    prostitution role?

20                   MS. CRISHAM:              No, Your Honor.                That's the first that I

21    have heard about that.

22          When Ms. Wang was arrested, she told law enforcement about

23    having been prostituted.                      She said then, in Mexico, by someone

24    who said she needed to prostitute to come up here.                                           There were

25    vague references to having to work for other people.                                             No other



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 14 of 23
                                                                                            January 18, 2018 - 14

 1    information besides that.

 2                   THE COURT:            Did she make a statement to the government

 3    after she was arrested?

 4                   MS. CRISHAM:              She did not, Your Honor.

 5          And, again, I just would note that contrary to Mr. Illa's

 6    representations, we, again, throughout this three-year

 7    investigation, have no evidence at all that Ms. Wang was doing

 8    this under duress or under threats from other individuals, but

 9    that she was, in fact, running this organization.

10          I would also question or contest Mr. Illa's statement that

11    prostitution organizations are not matriarchal.                                         On the contrary,

12    everything that I have seen, they actually many times are.                                                  The

13    fact that Ms. Wang is a woman does not preclude her from being a

14    very good businesswoman and, frankly, very successful at the job

15    that she did.

16                   THE COURT:            Thank you.

17          And let me ask the probation officer:                                  Did you interview the

18    defendant in connection with the presentence report?

19                   MR. FITZGERALD:                I did, Your Honor.

20                   THE COURT:            And the subject of why she got into running

21    this conspiracy, was that disclosed during that interview?

22                   MR. FITZGERALD:                It wasn't, and she --

23                   THE COURT:            I'm sorry.            It was, or was not?

24                   MR. FITZGERALD:                It was not.             I mean, she discussed in

25    generalities as far as acceptance.



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 15 of 23
                                                                                            January 18, 2018 - 15

 1                   THE COURT:            So how long did you talk with her?

 2                   MR. FITZGERALD:                An hour and a half.

 3                   THE COURT:            And her lawyer was, no doubt, present?

 4                   MR. FITZGERALD:                Correct.

 5                   THE COURT:            And you didn't hear anything about this

 6    reason that counsel has now suggested to the Court as to why she

 7    is now sitting here as a defendant in a criminal case having pled

 8    guilty to conspiracy?

 9                   MR. FITZGERALD:                On advice of counsel, the defendant did

10    not discuss the details of her life after she left Texas.                                                 So,

11    essentially, there's a ten-plus-year gap kind of in her history

12    that she declined to discuss, again, on the advice of counsel and

13    that, you know, so ...

14                   THE COURT:            All right.            Thank you.

15          Does the defendant wish to make a statement?

16                   THE INTERPRETER:                 Yes.

17                   THE DEFENDANT THROUGH THE INTERPRETER:                                   Your Honor, I

18    apologize for everything that I did.

19          May I have the sheet?

20                   THE COURT:            Certainly.

21                   THE DEFENDANT THROUGH THE INTERPRETER:                                   I feel shame for

22    this.       All this year I lived in fear.                            Not only I was harmed

23    physically and emotionally, but I also have been in fear that my

24    family might be harmed.

25          I feel very bad that I helped those who abused me and then



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 16 of 23
                                                                                            January 18, 2018 - 16

 1    imposed damage to those being abused, just like myself.

 2          After I get discharged and finish my sentence, I would like

 3    to return back to New York.                         I would like to be close to my

 4    children and closely embrace them and tell them how much I love

 5    them.       I want to dedicate the rest of my life to become a good

 6    mother and good person.                     I would never make the same mistakes

 7    again.

 8          Thank you.

 9                   THE COURT:            Please remain standing.

10                   MR. ILLA:           Excuse me, Your Honor.                      There was one issue

11    with respect to the presentence report and prior disclosures.                                                    At

12    an appropriate time, I would like to make a record of what's in

13    the presentence report on that issue.

14                   THE COURT:            Well, this would be a good time to do it.

15                   MR. ILLA:           Thank you, Your Honor.

16          Your Honor, in paragraph 69 --

17                   THE COURT:            I asked whether there were any objections to

18    the facts.           You said no.

19                   MR. ILLA:           No, Your Honor.                I'm trying to show a fact

20    that is in there that I agree with, that I believe supports what

21    I said earlier.

22                   THE COURT:            And what paragraph is that?

23                   MR. ILLA:           It's paragraph 69, Your Honor.

24                   THE COURT:            Just a moment, sir.

25                   MR. ILLA:           And I'm looking particularly at the



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 17 of 23
                                                                                            January 18, 2018 - 17

 1    second-to-last sentence beginning "eventually."                                         It reads, quote,

 2    "Eventually, she approached her captors and told them that she

 3    was unable to perform physically as her body was literally

 4    breaking down.              They apparently told her she could assist with

 5    the bookkeeping during half of the day, but she would be required

 6    to work as a prostitute the rest of the day," end quote.

 7          I offer that, Your Honor, in support of her disclosure of

 8    this pattern.             I admit that, after that, other things occurred

 9    that were not disclosed, but this is in the report as written.

10          Thank you.

11                   THE COURT:            All right.

12          Well, all of the facts in the presentence report have been

13    adopted by the Court because there was no objection.                                             One of the

14    important things was that when she was much younger, she came to

15    the United States and that she was then with other young

16    girls/women, sent to Mexico, locked up, and she was a victim of

17    human traffickers who facilitated her travel and forced her to

18    prostitute herself.                  But after a month, she left Mexico --

19    paragraph 69 -- came to the United States.                                     She was again locked

20    up and forced to prostitute herself for approximately one month,

21    according to the presentence report.                                And then at some point

22    thereafter she approached her captors, told them she was unable

23    to perform physically, as counsel has indicated, and they told

24    her she could assist with bookkeeping and she would be required

25    to work as a prostitute.



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 18 of 23
                                                                                            January 18, 2018 - 18

 1          Now, what's also stated in the presentence report, which is

 2    important I think, is that she is married -- she has been married

 3    for, I believe, nine years -- and has two children.                                            Those facts

 4    speak a little differently in terms of her last eight or nine or

 5    ten years of activities.

 6          The Court's view is that particularly someone who was

 7    subjected to human trafficking and forced to prostitute herself

 8    would clearly know the impact on other victims, should she then

 9    begin a ring of prostitution herself, and would have even more

10    knowledge about the impact that that has on women.

11          I'm not satisfied that there's any real evidence of what

12    counsel for defense has suggested, that somehow everything she's

13    done was forced upon her.                       I think the fact that she has a family

14    back in New York speaks volumes for, more likely than not, that's

15    not the case.

16          The defendant had an opportunity to talk with the government

17    somewhat after she was arrested.                             Nothing of that nature was

18    disclosed.           She met with the probation officer for over an hour

19    and a half.           And although the activities when she was 18 or 19,

20    17 or 18, in Mexico, and coming to the United States was

21    discussed and is in the presentence report, there was no

22    disclosure to the probation officer about the other arguments,

23    many of the arguments that counsel has made.

24          The guidelines are 27 to 33 months in this case.                                           The

25    question is, what, considering all of the factors, is an



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 19 of 23
                                                                                            January 18, 2018 - 19

 1    appropriate sentence under all the circumstances?

 2          The Court is required to first look at the nature of the

 3    offense.         And as we've indicated, this conspiracy to essentially

 4    organize and run a prostitution ring lasted for more than three

 5    years.       That's not in dispute.                      It's not in dispute that on the

 6    day this arrest occurred that there were 20 to 25 women who were

 7    present at the locations in this community where the arrests

 8    occurred.          The women have represented to the government that they

 9    were required to prostitute themselves five times a day.                                                Charges

10    of 160 to 200 dollars were made, and apparently the women kept

11    some, but at least half was given to this defendant.                                             This

12    defendant went out and organized and encouraged and solicited the

13    help of other defendants who have now pled guilty, and those

14    defendants went out and actually located locations, apartments,

15    places where the sex trafficking could occur throughout this

16    community.           There were numerous locations that were obtained by

17    Mr. Thompson and by the others that are in the case.                                             So she was

18    not only organizing the transportation of these women; she was

19    organizing others who were finding the locations.                                           Those people

20    then went out and collected the money, supplied the supplies.

21    This went on for not a week or a month or a year, but over

22    approximately a three-year period.                              The nature of the offense is

23    very troubling to the Court.

24          The Court recognizes the history and characteristics of the

25    defendant and the problems that she had and her own prostitution



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 20 of 23
                                                                                            January 18, 2018 - 20

 1    requirements that she was forced to do when she was a young

 2    woman, but she didn't disclose any details of her personal

 3    history after she left Texas and made her way to New York,

 4    married and had children.                       She's the identified leader of the

 5    conspiracy that we know of that occurred in this community.

 6          I'm satisfied that a sentence at least within the guideline

 7    range is necessary and appropriate, and I'm not satisfied with

 8    the recommendation that either probation or the lawyers have

 9    recommended of 24 months.                       I just don't think that's an

10    appropriate sentence, given the nature and extent of this

11    prostitution ring that this defendant managed over a long period

12    of time.

13          It will be the judgment of the Court that the defendant be

14    sentenced to a term of 30 months in prison, which is the midpoint

15    of the guideline range.                     I think the guidelines, although they

16    have been declared not binding on me, they give an idea, they

17    give a starting point.                    And under all the circumstances in this

18    case, I'm satisfied that they -- and a midpoint range is

19    appropriate, but not more than necessary.                                    Frankly, I could see

20    even a much higher sentence.

21          But it will be the judgment of the Court that this defendant

22    be committed to the custody of the Bureau of Prisons for a period

23    of 30 months, followed by a period of supervised release of three

24    years, rather than one year as recommended by probation.                                                I find

25    that the defendant does not have an ability to pay a fine.                                                  I



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 21 of 23
                                                                                            January 18, 2018 - 21

 1    will waive the fine.                   Assess the $100 special assessment.

 2    Supervised release will be subject to all of the standard

 3    conditions as well as the special conditions that are outlined in

 4    the sentencing recommendations.

 5          I advise the defendant that to the extent she has not waived

 6    her rights of appeal, any appeal must be filed within 14 days of

 7    the time I sign the judgment.

 8          And I will ask counsel if she's got a judgment to present.

 9                   MS. CRISHAM:              I do, Your Honor.

10                   MR. ILLA:           Your Honor, we would request a placement

11    recommendation at FDC.

12                   THE COURT:            I'm not going to make that recommendation.

13                   MR. ILLA:           Thank you, Your Honor.

14                   THE COURT:            It's a 30-month sentence.                        I'm not going to

15    make that recommendation.

16                   MR. ILLA:           Thank you, Your Honor.

17          I have reviewed --

18                   THE COURT:            She has no -- her family is in New York, is

19    it not?

20                   MR. ILLA:           That's correct, Your Honor.

21                   THE COURT:            Yeah.

22                   MR. ILLA:           Your Honor, I have reviewed the proposed

23    judgment prepared by the Assistant U.S. Attorney.                                           I believe it

24    comports with the Court's oral rulings.

25          May I hand it forward?



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 22 of 23
                                                                                            January 18, 2018 - 22

 1                   THE COURT:            Thank you, counsel.

 2                   MR. ILLA:           Thank you, Your Honor.

 3                   THE COURT:            Was the Superseding Indictment just one

 4    count?

 5                   MS. CRISHAM:              It was, Your Honor, yes.

 6                   THE COURT:            And was it an Information?

 7                   MS. CRISHAM:              It was an Information.                     I'm sorry.            Yes.

 8                   THE COURT:            What did it supersede, the Indictment?

 9                   MS. CRISHAM:              Yes, there was a Superseding Indictment

10    that had --

11                   THE COURT:            One of the special conditions is that the

12    defendant have no contact with some people who are listed by

13    initials.

14          Does the government need to file something that would

15    designate who they are?                     I mean, there's just initials in this

16    document.

17                   MS. CRISHAM:              I can do that, Your Honor, because I

18    think, unlike other cases, it may well be that Ms. Wang does not

19    know the names of those individuals.

20                   THE COURT:            Well, is there any reason why we shouldn't

21    say that she should have no direct or indirect contact with any

22    woman that was involved in this conspiracy?

23                   MS. CRISHAM:              Yeah.       I think that's probably a cleaner

24    way of doing it.

25                   THE COURT:            Well, that will be the order of the Court.



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 316 Filed 09/25/18 Page 23 of 23
                                                                                            January 18, 2018 - 23

 1          I have signed the judgment.                          It will be filed.

 2          Anything further to come before the Court?

 3                   MS. CRISHAM:              No.      Thank you, Your Honor.

 4                   MR. ILLA:           Nothing further.

 5                   THE CLERK:            We will be in recess on this matter.

 6                                                   (Adjourned.)

 7

 8                                           C E R T I F I C A T E

 9

10            I, Nickoline M. Drury, RMR, CRR, Court Reporter for the

11    United States District Court in the Western District of

12    Washington at Seattle, do certify that the foregoing is a correct

13    transcript, to the best of my ability, from the record of

14    proceedings in the above-entitled matter.

15

16

17                                             /s/ Nickoline Drury

18                                             Nickoline Drury

19

20

21

22

23

24

25



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
